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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

REGIONAL LOGISTICS GROUP, LLC,

                              Plaintiff,                          NOTICE OF REMOVAL UNDER
                                                                         28 U.S.C. § 1332
         -vs-                                                         (Diversity Jurisdiction)

WEST AMERICAN INSURANCE COMPANY,                                  Erie County Index No.: 801054/2021

                              Defendant.                         WDNY Civil Action No.: __________


         Defendant West American Insurance Company (“Defendant”), pursuant to 28 U.S.C.

§§ 1332 and 1441(a), hereby files its Notice of Removal of the above action, Regional Logistics

Group, LLC v. West American Insurance Company, Erie County Index No. 801054/2021, from

the Supreme Court of the State of New York, County of Erie, to the United States District Court

for the Western District of New York, and in support thereof states:

Process and Pleadings Served Upon Defendant

         1.     The Summons and Verified Complaint in this action was filed in the Supreme

Court of the State of New York, County of Erie, Index No. 801054/2021, on January 26, 2021. A

copy of the Verified Complaint is attached hereto as Exhibit “A.”

         2.     Following the filing of the Summons and Verified Complaint, Plaintiff Regional

Logistics Group, LLC (“Plaintiff”) granted Defendant an extension of time to answer or otherwise

appear until April 5, 2021.

Grounds for Removal

         3.     Plaintiff’s Verified Complaint seeks a declaratory judgment on the issues of

defense, indemnity, and estoppel arising out of Defendant’s denial of insurance coverage for an

underlying matter venued in the Supreme Court of the State of New York, County of Erie, entitled




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Ascion, LLC d/b/a Reverie v. Regional Logistics Group, LLC., Erie County Index No.

800124/2020. Exhibit A, pp. 1-2, 66-71, 83, 86, 91.

         4.    The amount in controversy is greater than $75,000, exclusive of interest and costs.

         5.    Upon information and belief, Plaintiff is a domestic limited liability company,

whose members are citizens of the State of New York.

         6.    Defendant West American Insurance Company is a foreign business corporation,

organized under the laws of the State of Indiana. Defendant’s principal place of business is 175

Berkeley Street, Boston, Massachusetts 02116. Defendant was served with the instant Summons

and Verified Complaint on February 5, 2021.

         7.    The above-entitled action is a civil action over which this Court would have original

jurisdiction pursuant to 28 U.S.C. § 1332, and which therefore may be removed to this Court

pursuant to 28 U.S.C. § 1441, in that the action is between citizens of different states, and the

matter in controversy, exclusive of interest and costs, exceeds the sum or value of $75,000.

         8.    A copy of the written notice required by 28 U.S.C. § 1446(d), addressed to the

adverse party and to the Clerk of Erie County, is attached as Exhibit “B” and will be filed in the

Erie County Clerk’s Office and served on Plaintiff after the filing of this Notice of Removal in the

United States District Court for the Western District of New York.

         9.    In compliance with Local Rule 81(a)(3), an index of all documents filed in the state

action is attached as Exhibit “C.”

         10.   Defendant consents to the removal of this action from Supreme Court of the State

of New York, County of Erie, to the United States District Court for the Western District of New

York.




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Timely Filing of this Notice

         11.      Pursuant to 28 U.S.C. § 1446(b)(1), this notice is filed within thirty days after

receipt by Defendant, through service or otherwise, of a copy of the pleading setting forth the

claims for relief upon which this action is based.

         12.      Service and notice of the filing of this Notice of Removal will be served upon the

Plaintiff as required. A true and correct copy of this Notice will be filed with the Erie County

Clerk’s Office.

         13.      This action is therefore removable to this Court pursuant to 28 U.S.C. §§ 1332 and

1441.

         WHEREFORE, Defendant West American Insurance Company respectfully pray for this

Court to accept the removal of this action from the State Court and grant to Defendants such other

and further relief as the Court deems just and proper.

DATED:            March 4, 2021                        BARCLAY DAMON LLP


                                                       By: ___________________________
                                                              Anthony J. Piazza
                                                              Jessica E. Tariq

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